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 1                                                     Judge Robart
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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9   UNITED STATES OF AMERICA,            )
                                          )
10                           Plaintiff,   )            NO. CR05-329JLR
                                          )
11        v.                              )
                                          )            ORDER GRANTING JOINT MOTION
12   RAMON GONSALEZ-REYES and             )            TO CONTINUE PRETRIAL MOTIONS
     ERNESTO CASTILLO-ROJAS,              )            DEADLINE AND TRIAL DATE
13        a/k/a Teodulpho Castillo-Rojas, )
                                          )
14                           Defendants. )
     _________________________________)
15

16          THIS MATTER having come before the Court on the joint motion of the parties
17   for an order continuing the pretrial motions deadline and the trial date in this cause, and
18   the Court having reviewed the motion and the balance of the records and files herein, the
19   Court now finds and rules as follows:
20          On August 25, 2005, defendants Ramon Gonsalez-Reyes and Ernesto Castillo-
21   Rojas, a/k/a Teodulpho Castillo-Rojas, were charged by Complaint with distribution of
22   500 grams or more of cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B);
23   distribution of five grams or more of methamphetamine, in violation of 21 U.S.C.
24   §§ 841(a)(1) and 841(b)(1)(B); and possession of five hundred grams or more of
25   methamphetamine with intent to distribute, in violation of 21 U.S.C. §§ 841(a)(1) and
26   841(b)(1)(A). On September 7, 2005, the defendants were indicted on the same charges.
27   They appeared before Magistrate Judge Mary Alice Theiler on September 8, 2005, for
28
     ORDER GRANTING JOINT MOTION TO CONTINUE PRETRIAL MOTIONS
     DEADLINE AND TRIAL DATE/GONSALEZ-REYES/CASTILLO-ROJAS -- 1
     (GONSALEZ-REYES.CONT.ORD)                                                    UNITED STATES ATTORNEY
     CR05-329JLR                                                                   700 Stewart Street, Suite 5220
                                                                                  Seattle, Washington 98101-1271
                                                                                           (206) 553-7970
              Case 2:05-cr-00329-JLR        Document 34      Filed 10/17/05     Page 2 of 4



 1   arraignment. Pretrial motions were due on September 29, 2005, and trial was scheduled
 2   to begin on November 15, 2005. Both defendants have been ordered detained pending
 3   trial.
 4            On October 4, 2005, the Court granted the defendants’ unopposed motions to
 5   continue the deadline for filing pretrial motions from September 29, 2005, to October 13,
 6   2005.
 7            On October 7, 2005, Assistant United States Attorney Leonie G.H. Grant filed a
 8   Notice of Substitution and Appearance of Counsel in the above-referenced matter.
 9   AUSA Grant was assigned responsibility for this matter as a result of Assistant
10   United States Attorney Ilene Miller’s departure from the United States Attorney’s Office.
11   Counsel have agreed that there is insufficient time before the present pretrial motions due
12   date for Government counsel to familiarize herself with the case file and schedule a
13   mutually convenient time for a discovery conference. Therefore, the parties have agreed
14   that a discovery conference will be held during the first part of the week of October 17,
15   2005. Because defense counsel will need additional time subsequent to the discovery
16   conference to complete pretrial motions, the parties have further agreed that the pretrial
17   motions deadline should be continued to Thursday, October 27, 2005, with the
18   Government’s responses to all pretrial motions due on or before Thursday, November 10,
19   2005. Finally, the parties have agreed that the trial date should be continued in order to
20   ensure all counsel the reasonable time necessary for effective preparation, taking into
21   account the exercise of due diligence. No previous requests to continue the trial date
22   have been filed in this proceeding.
23            It appearing to the Court that the failure to grant the requested continuance of the
24   pretrial motions filing deadline and the trial date would effectively deny all counsel the
25   reasonable time necessary for effective preparation, taking into account the exercise of
26   due diligence, and it further appearing to the Court that the ends of justice served by
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     ORDER GRANTING JOINT MOTION TO CONTINUE PRETRIAL MOTIONS
     DEADLINE AND TRIAL DATE/GONSALEZ-REYES/CASTILLO-ROJAS -- 2
     (GONSALEZ-REYES.CONT.ORD)                                                      UNITED STATES ATTORNEY
     CR05-329JLR                                                                     700 Stewart Street, Suite 5220
                                                                                    Seattle, Washington 98101-1271
                                                                                             (206) 553-7970
             Case 2:05-cr-00329-JLR     Document 34      Filed 10/17/05    Page 3 of 4



 1   granting the requested continuance outweigh the interest of the public and the defendants
 2   in a speedy trial,
 3          IT IS HEREBY ORDERED that the joint motion of the parties to continue the
 4   pretrial motions deadline and the trial date is GRANTED.
 5          IT IS FURTHER ORDERED that pretrial motions shall be filed on or before
 6   Thursday, October 27, 2005, and the Government’s responses to all pretrial motions shall
 7   be due on or before Thursday, November 10, 2005.
 8          IT IS FURTHER ORDERED that the trial date shall be continued from Tuesday,
 9   November 15, 2005, to Tuesday, December 13, 2005.
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     ORDER GRANTING JOINT MOTION TO CONTINUE PRETRIAL MOTIONS
     DEADLINE AND TRIAL DATE/GONSALEZ-REYES/CASTILLO-ROJAS -- 3
     (GONSALEZ-REYES.CONT.ORD)                                                 UNITED STATES ATTORNEY
     CR05-329JLR                                                                700 Stewart Street, Suite 5220
                                                                               Seattle, Washington 98101-1271
                                                                                        (206) 553-7970
              Case 2:05-cr-00329-JLR     Document 34     Filed 10/17/05   Page 4 of 4



 1            IT IS FURTHER ORDERED that the period of delay from November 15, 2005,
 2   until December 13, 2005, is excludable time pursuant to 18 U.S.C. § 3161(h)(8)(A), for
 3   the purpose of computing the time limitations imposed by the Speedy Trial Act, 18
 4   U.S.C.
 5   §§ 3161-3174.
 6            DATED this 17th of December, 2005.
 7

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                                                    A
                                                    JAMES L. ROBART
                                                    United States District Judge
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     Presented by:
13
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     United States Attorney’s Office
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     Seattle, Washington 98101-1271
17   Telephone: 206-553-7970
     Fax No.:      206-553-0755
18   E-Mail:       Lee.Grant@usdoj.gov
19

20
     s/ MATTHEW T. HALE per authorization           s/ ROBERT M. LEEN per authorization
21   Matthew T. Hale                                Robert M. Leen
     Attorney for Defendant Ramon                   Attorney for Defendant Ernesto
22   Gonsalez-Reyes                                 Castillo-Rojas,
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     ORDER GRANTING JOINT MOTION TO CONTINUE PRETRIAL MOTIONS
     DEADLINE AND TRIAL DATE/GONSALEZ-REYES/CASTILLO-ROJAS -- 4
     (GONSALEZ-REYES.CONT.ORD)                                                UNITED STATES ATTORNEY
     CR05-329JLR                                                               700 Stewart Street, Suite 5220
                                                                              Seattle, Washington 98101-1271
                                                                                       (206) 553-7970
